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 7
                                   UNITED STATES DISTRICT COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9

10
     ANTHONY PEREZ, an individual                   Case No.:
11

12
                               Plaintiff,           VERIFIED COMPLAINT FOR
                                                    DAMAGES & EQUITABLE RELIEF:
13           vs.
14   ORANGE COUNTY SHERIFFS                         1.    ASSAULT & BATTERY;

15   DEPARTMENT a municipality; COUNTY
     OF ORANGE a municipality; AND DOES 1           2.    EXCESSIVE USE OF FORCE –
16   THROUGH 50, INCLUSIVE,                               UNREASONABLE ARREST AND
                                                          SEIZURE/FALSE
17                              Defendants.               IMPRISONMENT (42 U.S.C.
                                                          §1983);
18

19                                                  3.    FAILURE TO PROPERLY SCREEN
                                                          AND HIRE; 42 U.S.C. §1983);
20
                                                    4.    FAILURE TO TRAIN, SUPERVISE,
21                                                        AND DISCIPLINE; 42 U.S.C. §1983
                                                          MONELL;
22

23                                                  5.    VIOLATION OF CAL. CIV. CODE
                                                          §52.1
24
                                                    6.    INTENTIONAL INFLICTION OF
25
                                                          EMOTIONAL DISTRESS;
26
                                                    7.    NEGLIGENCE / NEGLIGENT
27                                                        INFLICTION OF EMOTIONAL
                                                          DISTRESS
28


                                                1
                       VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1

 2
                                                              DEMAND FOR JURY TRIAL
 3

 4

 5          COME NOW Plaintiff ANTHONY PEREZ (hereinafter “Plaintiff”), by and through his
 6   attorney of record, hereby alleging the following based on their personal knowledge and belief:
 7                                            COMPLAINT
 8   1. This is a civil rights action seeking monetary damages from Defendants for violating various
 9      rights under the United States Constitution and California state law in connection with the
10      illegal entry, search, and seizure of Plaintiff ANTHONY PEREZ property on March 25,
11      2022, and the wrongful assault, arrest, and detainment of Plaintiff ANTHONY PEREZ on
12      April 1, 2022.
13                                               PLAINTIFF
14   2. ANTHONY PEREZ is and was at all relevant times herein, an individual residing in Orange
15      County, State of California.
16                                             DEFENDANTS
17   3. Defendant, COUNTY OF ORANGE (hereinafter “COUNTY”) is now, and at all times
18      mentioned in this Complaint was, a municipal corporation and political subdivision
19      organized and exiting under the laws of the State of California and owns, operates, manages,
20      directs and controls the ORANGE COUNTY SHERIFF’S DEPARTMENT, (“OCSD”) and
21      operating department of the COUNTY.
22   4. ORANGE COUNTY SHERIFF’S DEPARTMENT (hereinafter “OCSD”) is a non-
23
        separable department of the Count of Orange located in the County of Orange, California.
24
     5. At all relevant times, Defendants, are law enforcement officers, present, participating or
25
        actively supporting in the wrongful acts as alleged herein.
26
     6. DOES 1-50 are as yet unidentified individuals who knowingly participated in or supported
27
        some or all of the wrongful acts as stated herein.
28


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                      VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1   7. DOES 1-10, are unnamed supervisors because the identity has yet to be ascertained. They
 2      were Sheriff supervisors of the Individual Defendants on or near the scene and was thus
 3      knowingly involved with the violations alleged herein.
 4   8. DOES 11-15 are unnamed supervisors who participated in the training or oversight of the
 5      Individual Defendants' wrongful acts as stated herein. They are unnamed because their
 6      identity has yet to be ascertained.
 7   9. DOES 16-50 are unnamed because their identities have yet to be ascertained. They
 8      participated in the deprivations visited upon Plaintiff, or with full knowledge of the
 9      deprivation and the ability to stop the deprivations did not and/or failed to investigate, or
10      participate honestly in the investigation of the allegations of misconduct as alleged herein,
11      and as alleged.
12   10. Each individually named defendant and each DOE defendant acted under color of state law
13      and within the scope of his or her agency and employment with the County of Orange and
14      its Sheriff’s Department. All acts and omissions of the individual Defendants were
15      malicious and intentional, with either the intent to deprive Plaintiff of his constitutional and
16      statutory rights, or in reckless disregard of those rights.
17   11. Furthermore, Plaintiffs has assumed on information and belief that the only government
18      entity that operates the Orange Sheriff's Department is the County of Orange itself. If it is
19      later determined that another agency operates the Orange County Sheriff’s Department, then
20
        Plaintiff will substitute the entity as DOE 51.
21
     12. At such times as these individuals are identified, Plaintiffs will seek to substitute the names
22
        of those individuals for the currently named DOE defendants.
23
                                     JURISDICTION AND VENUE
24
     13. On or Plaintiffs' claims arise out of a course of conduct involving acts by the Sheriff’s
25
        Department for Orange County, with its main location located in the County of Orange, and
26
        for the acts of officials and its law enforcement officers of the County of Orange and its
27
        Sheriff’s Department, and/or DOE 1- 51 and its law enforcement officers, with its
28


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                      VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1      headquarters located in the County of Orange, State of California, and within this judicial
 2      district. The subject event, and all acts described herein, occurred in the City of Trabuco
 3      Canyon, County of Orange, State of California.
 4                      EXHAUSTION OF ADMINISTRATIVE REMEDIES
 5   14. Plaintiffs timely filed the appropriate administrative claims on September 23, 2022, and
 6      September 29, 2022. The County has not provided timely notice of its acceptance or denial
 7      within the requisite time as ascribed by Government Code § § 911, 911.2, and 911.3 thus the
 8      claim provisions and time limitations to file suit enunciated in the California Government
 9      Tort Claims Act have been followed. A copy of the claims of Plaintiff are attached
10      collectively as Exhibit A.
11                               FACTS COMMON TO ALL CLAIMS
12   15. By this reference, Plaintiff allege and incorporate herein each and every allegation set forth
13      in all previous paragraphs of the Complaint.
14   16. On or about March 25, 2022 OCSD deputies illegally without permission or warrant entered
15      into Plaintiffs home and conducted an illegal search of Plaintiffs home.
16   17. OCSD claim they were responding to a ADT alarm call from Plaintiffs home which was
17      about 1 to 2 hours before OCSD deputies arrived.
18   18. Plaintiff is informed and believes and thereon alleges that ADT never gave OCSD
19      authorization to enter into his property by either picking any locks or any other method to
20
        enter Plaintiffs home.
21
     19. OCSD never received authorization from Plaintiff to enter his home by picking the locks or
22
        any other method to enter Plaintiffs home.
23
     20. OCSD deputies subsequently broke into Plaintiffs home without authorization or warrant to
24
        enter the premises.
25
     21. OCSD deputies after illegally gaining entrance into Plaintiffs home search searched
26
        bathrooms, bedrooms, cabinets in the bathroom and kitchen, behind pictures hanging on the
27
        walls, searching under the guise they were looking for a possible suspect who may have
28


                                                       4
                      VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1      entered the property.
 2   22. On or about April 1, 2022 Anthony Perez became the target of Law enforcement excessive
 3      violence.
 4   23. On said date Plaintiff was home with his wife and minor children unbeknownst to him that
 5      he would be traumatized by OCSD deputies.
 6   24. OCSD deputies were called to his home due to a domestic dispute between Plaintiff and his
 7      wife. There was no physical altercation between Plaintiff and his wife, and no instances of
 8      violence between Plaintiff and his wife. There was no cause for OCSD deputies to escalate
 9      the matter any further.
10   25. At the initial response 5 OCSD deputies responded to Plaintiffs home and subsequently 2 to
11      3 more came to the home in response to this call.
12   26. Upon OCSD deputies’ arrival they spoke with Plaintiffs wife outside but entered the home
13      without Plaintiffs authorization and engaged Plaintiff in the home.
14   27. Plaintiff at no time invited or authorized the OCSD deputies to enter his domicile.
15   28. One OCSD deputy enter Plaintiffs home looking for a charger for Plaintiffs phone as the
16      battery was dead in the phone.
17   29. OCSD deputies were looking to access Plaintiffs phone information without Plaintiffs,
18      consent, authorization and failing to have a warrant to do so.
19   30. OCSD deputies began to antagonize Plaintiff as he feared for his life, as OCSD deputies told
20
        Plaintiff to “get down on his knees and say his hail Mary’s.”
21
     31. As OCSD deputies had Plaintiff on his knees Plaintiff began to beg for his life, as he feared
22
        OCSD deputies would take action against him and possibly kill him.
23
     32. OCSD deputies were pointing their handguns at Plaintiff although Plaintiff did not pose a
24
        threat as he had no weapons, was he combative, nor did he make any threats to OCSD
25
        deputies.
26
     33. Additional OCSD deputies would again enter the home searching for Plaintiffs phone
27
        charger in an attempt to charge Plaintiffs phone so they could get access to Plaintiff phone
28


                                                      5
                      VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1      information.
 2   34. Plaintiffs’ wife was allowed to leave the property, after Plaintiffs wife left, Plaintiff was
 3      ordered by OCSD deputies not to leave his house, nor step outside of the house without
 4      providing any reason to Plaintiff for such order.
 5   35. Plaintiff was ordered by OCSD deputies to close his door, stay in the house, and not leave
 6      or go outside for a period of 24 hours without providing Plaintiff a reason or under what
 7      authority they were issuing such order to Plaintiff.
 8   36. OCSD deputies closed his door, as OCSD deputies began to leave his home, Plaintiff
 9      opened his door slipped and fell.
10   37. OCSD deputies returned restrained Plaintiff and tazed his dog.
11   38. OCSD deputies took Plaintiffs phone and used his thumb print gain access to Plaintiff
12      phone.
13   39. OCSD deputies after illegally gaining access to Plaintiffs phone remarked “this guy was
14      busy.”
15   40. Specifically, OCSD deputies after observing Plaintiff slipping on the ground and posing no
16      threat arrested him and tazed his dog, which reasonably caused Plaintiff to fear that he
17      would be harmed.
18   41. OCSD deputies during the illegal arrest and seizure of Plaintiff, injured Plaintiff further as
19      Plaintiff already had a broken hand caused extensive damage to his broken hand and caused
20
        extensive damage to Plaintiffs knee.
21
     42. OCSD deputies after restraining Plaintiff placed him in the back of an unmarked police car
22
        and began to have a conversation as to what they were going to do with Plaintiff.
23
     43. OCSD deputies without restraining Plaintiff with a seatbelt at a high rate of speed took
24
        Plaintiff to a mental hospital claiming in their official report, and to the hospital that he was
25
        a 5150 hold, stating that he claimed that “his family was abducted by aliens.” Plaintiff never
26
        at anytime made such a claim to the deputies or to anyone at the hospital.
27
     44. OCSD deputies while at the hospital made various threats against Plaintiff and informing
28


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                       VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1      him that it was their word against his.
 2   45. Plaintiff alleges and thereon believes that the OCSD deputies during these exchanges at
 3      Plaintiffs home, and at the hospital OCSD deputies turned off their body cam and audio
 4      recordings to hide their nefarious actions against Plaintiff.
 5
                                      FIRST CAUSE OF ACTION
 6
                                         ASSAULT & BATTERY
 7                        (Asserted against Orange County Sheriff’s Department )

 8   46. Plaintiffs hereby realleges and incorporates by reference the allegations set forth in
 9      paragraphs 1 through 45, inclusive, above, as if set forth full herein.
10   47. As outlined in detail above, Defendants assaulted Plaintiff by engaging in actions that
11      intended to harm him, in which response to which Plaintiff reasonably believed that he
12      would be harmed and was in fact harmed.
13   48. Defendant OCSD deputies Does 1-10 and 16-50 forcefully grabbed unlawfully arrested
14      Plaintiff and detained him against his will amounting to false imprisonment and offensive
15      touching.
16   49. Specifically, OCSD deputies after observing Plaintiff slipping on the ground and posing no
17      threat arrested him and tazed his dog, which reasonably caused Plaintiff to fear that he would
18      be harmed.
19   50. OCSD deputies during the illegal arrest and seizure of Plaintiff, injured Plaintiff further as
20
        Plaintiff already had a broken hand caused extensive damage to his broken hand and caused
21
        extensive damage to Plaintiffs knee.
22
     51. As a direct and proximate result of the aforesaid acts and omissions of the aforementioned
23
        defendants, Plaintiffs suffered and will continue to suffer severe mental and physical pain,
24
        suffering, anguish, fright, nervousness, anxiety, shock, humiliation, indignity,
25
        embarrassment, harm to reputation, and apprehension, which have caused Plaintiff to sustain
26
        damages in a sum to be determined at trial.
27

28


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                      VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1   52. COUNTY, OCSD, and DOE 51 are vicariously liable pursuant to Cal. Gov't Code §
 2      815.2(a).
 3   53. The aforementioned acts of all Defendants were willful, wanton, malicious and oppressive,
 4      with reckless disregard for, with deliberate indifference to, and with the intent to sadistically
 5      subjected Plaintiffs to pain, and suffering, entitling Plaintiffs to exemplary and punitive
 6      damages against Defendants in an amount to be proven at trial.
 7
                                SECOND CAUSE OF ACTION
 8
          EXCESSIVE USE OF FORCE – UNREASONABLE ARREST AND SEIZURE/FALSE
 9                            IMPRISONMENT (42 U.S.C. §1983);
                      (Asserted against Orange County Sheriffs Department)
10

11
     54. Plaintiff hereby realleges and incorporates by reference the allegations set forth in

12
        paragraphs 1 through 53, inclusive, above, as if set forth in full herein.

13   55. Defendant used force, including deadly force, to arrest and/or detain Plaintiff. Defendants

14      acted under color of law at all times relevant to this complaint.

15   56. On information and belief, a reasonable law enforcement officer would not have hit, kicked,

16      or forcefully restrained Plaintiff when he posed no threat to Defendants or the Public.

17   57. As a result, the use of deadly force was excessive and objectively unreasonable under the

18      circumstances. The force was also performed with a deliberate indifference to the safety and

19      welfare of Plaintiff. Defendant’s actions thus deprived Plaintiff of his right to be free from

20      the use of excessive force by law enforcement.

21   58. As a direct and proximate result of Defendants’ deprivations and violations of Plaintiff

22      Fourth Amendment rights, Plaintiff has suffered general and special damages according to

23      proof at the time of trial.

24   59. As a further direct and proximate result of the foregoing, Plaintiff further suffers from

25      depression, nightmares, mental anguish, irritability, anxiety, memory loss, moodiness

26      difficulty sleeping, social withdrawal, tearfulness, and anger.

27   60. As a further result of the foregoing, Plaintiff is entitled to recover reasonable costs and

28      attorney fees under 42 U.S.C. § 1988.


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                       VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1   61. In committing the acts described above. Plaintiff is informed and believes Defendants acted
 2      with oppression, fraud, or malice, entitling Plaintiff to an award of punitive damages under
 3      42 U.S.C. § 1983 and California Code of Civil Procedure § 337.34 against Defendants in an
 4      amount according to proof at time of trial.
 5                                THIRD CAUSE OF ACTION
                    FAILURE TO PROPERLY SCREEN AND HIRE; 42 U.S.C. §1983);
 6
                                 (Asserted against All Defendants)
 7
     62. Plaintiff hereby realleges and incorporates by reference the allegations set forth in
 8
        paragraphs 1 through 60, inclusive, above, as if set forth in full herein.
 9
     63. The COUNTY and DOES 1-25 as a matter of custom, practice and policy, failed to
10
        adequately and properly screen and hire Defendant employees.
11
     64. The failure of Defendants, their agents, servants, and employees to properly screen and hire
12
        the defendant officers as a matter of policy, custom and practice, in the exercise of their
13
        functions. Was deliberately indifferent to the Constitutional rights of Plaintiff and done with
14
        conscious disregard for the dangers of harm and injury to Plaintiff and others similarly
15
        situated.
16
     65. Due to the acts of Defendants COUNTY and DOES 1-25, the failure to properly screen and
17
        hire Deputies and the continued employment of the defendant deputies, a clear and present
18
        danger exists to the residents of the COUNTY of Orange.
19
     66. Furthermore, the lack of adequate screening and hiring practices by Defendants evidence a
20
        deliberate indifference to the rights of Plaintiff and others in their position.
21
     67. Therefore, these defendants, with deliberate indifference, disregarded a duty to protect the
22
        public from official misconduct.
23
     68. The conduct alleged herein violated Plaintiffs rights alleged above which has legally,
24
        proximately, foreseeably, and actually caused Plaintiff to suffer general and special damages
25
        according to proof at the time of trial.
26

27

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 1    69. As a further direct and proximate result of the foregoing, Plaintiff further suffers from
 2       depression, nightmare, mental anguish, irritability, anxiety, short-temper, moodiness,
 3       difficulty sleeping, memory loss, social withdrawal, tearfulness, and anger.
 4    70. Plaintiff is also entitled to recover reasonable costs and attorney fees under 42 U.S.C. §
 5       1988.
 6    71. In committing the acts described above, Plaintiff is informed and believes Defendants and
 7       Does 1-25 acted with oppression, fraud, or malice, entitling Plaintiff to an award of punitive
 8       damages against Defendant and Does 1-25 in an amount according to proof at the time of
 9       trial.
10                              FOURTH CAUSE OF ACTION
11
            FAILURE TO TRAIN, SUPERVISE, AND DISCIPLINE; 42 U.S.C. §1983 MONELL;
                                (Asserted against All Defendants)
12
      72. Plaintiff hereby realleges and incorporates by reference the allegations set forth in
13
         paragraphs 1 through 71, inclusive, above, as if set forth in full herein.
14
      73. The COUNTY and DOES 1-25 as a matter of custom, practice, and policy, failed to
15
         maintain adequate and proper training for deputies and law enforcement personnel in the
16
         OCSD necessary to educate the deputies as to the Constitutional right of arrestees, to prevent
17
         the consistent and systemic use of excessive force by arresting deputies, and to prevent the
18
         excessive force and extra judicial punishment of potential arrestees by deputies.
19
      74. The COUNTY and DOES 1-25 also failed to provide adequate supervision and discipline to
20
         deputies and other law enforcement personnel that hold the power, authority, insignia,
21
         equipment and arms entrusted to them. Defendants also failed to promulgate and enforce
22
         adequate polices and procedures related to alternatives to the use of deadly force, including
23
         the Taser, stun-gun, pepper spray, or pepper ball and bean bag guns.
24
      75. Said custom, practice, and policy included a failure to adequately investigate, supervise, and
25
         discipline offending deputies that fostered the custom, practice, and policy within the
26
         Sheriff’s Department which resulted in the wrongful and illegal entry of Plaintiffs home on
27
         March 25, 2022, and the forceful attack and disregard of safety of Plaintiff on April 1, 2022.
28


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 1    76. The failure to promulgate or maintain constitutionally adequate policies regarding training
 2       was done with deliberate indifference to the rights of Plaintiff and others in his position.
 3    77. The constitutionally infirm lack of adequate training, supervision, and discipline as to the
 4       officers and law enforcement personnel in this case cause Plaintiff to suffer general and
 5       special damages according to proof at trial.
 6    78. As a further direct and proximate result of the foregoing, Plaintiff further suffers from
 7       depression, nightmare, mental anguish, irritability, anxiety, short-temper, moodiness,
 8       difficulty sleeping, memory loss, social withdrawal, tearfulness, and anger.
 9    79. Plaintiff is also entitled to recover reasonable costs and attorney fees under 42 U.S.C. §
10       1988.
11    80. In committing the acts described above, Plaintiff is informed and believes Defendants and
12       Does 1-25 acted with oppression, fraud, or malice, entitling Plaintiff to an award of punitive
13       damages against Defendant and Does 1-25 in an amount according to proof at the time of
14       trial.
15                                     FIFTH CAUSE OF ACTION:
16                                 VIOLATION OF CAL. CIV. CODE §52.1
                                      (Asserted Against All Defendants)
17
      81. Plaintiffs hereby realleges and incorporates by reference the allegations set forth in
18
         paragraphs 1 through 80, inclusive, above, as if set forth in full herein.
19
      82. Plaintiffs have protections under California Civil Code Section 52.1 to be free from the
20
         deprivation of any rights, privileges, or immunities secured by the United States and
21
         California Constitutions and by any federal or California laws by any agency or individuals
22
         whether or not acting under the color of State law. These constitutional rights include, but
23
         are not limited to, inalienable rights (Article I, section 1 ), the Right to Free Speech and
24
         conduct peaceful protests, due process (Article I, section 7), freedom from unreasonable
25
         searches and seizures (Article I, section 13), and privacy.
26
      83. March 25, 2022, Plaintiff claims that, while acting under the color of law, defendants OCSD
27
         deputies and DOES 1-50 intentionally interfered with Plaintiff civil rights by illegally
28


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 1       picking the lock to his home and entering without permission or warrant from the court
 2       threats, intimidation, or coercion against him and keeping Plaintiff from being secure in his
 3       persons, houses, papers and effects, against unreasonable searches and seizures. All acts
 4       were done under the orders of the Sheriff Department, Does 1-50.
 5    84. April 1, 2022, Plaintiff claims that, while acting under the color of law, defendants OCSD
 6       deputies and DOES 1-50 intentionally interfered with Plaintiff civil rights by using threats,
 7       intimidation, arbitrary arrests, malicious prosecution, as well as against unreasonable
 8       searches or coercion against him. All acts were done under the orders of the OCSD, Does 1-
 9       50.
10    85. At the time of the threats made against Plaintiff and at his illegal arrest, Plaintiff simple
11       opened his front door and stepped on his porch. Plaintiff stepping out on his porch neither
12       interfered with any legal resident ingress or with the OCSD deputies egress to their vehicles,
13       nor did the Plaintiff seek to, nor did the Plaintiff threaten any of OCSD personnel, or
14       attempted to, or threaten or dissuade, any witness, or person from their lawful duties.
15    86. On April 1, 2022, the threats, intimidation or coercion, used by defendants OCSD deputies
16       and DOES 1-50, while acting under the color of law, caused Plaintiff to reasonably believe
17       that if he exercised his right to freedom of speech against being wrongfully detained, and
18       searched that OCSD deputies defendants or other personnel with the Orange County
19       Sheriff’s Department and DOES 1-50 would commit violence against him or his property,
20
         arrest him (without benefit of probable cause), and that OCSD deputies or other personnel
21
         with the OCSD and DOES 1-50 had the apparent ability to carry out the threats.
22
      87. On April 1, 2022, prior to his unlawful arrest and detention, Plaintiff was prevented from
23
         exercising his right to free speech by defendants OCSD deputies and DOES 1-50, who used
24
         threats, intimidation and coercion. These threats, intimidation, and coercion by defendants
25
         was independent from the coercion inherent in the wrongful detention of Plaintiff itself.
26
         (Simmons v. Superior Court (2016) 7 Cal.App.5th at p. 1126.)
27

28


                                                        12
                        VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1    88. On April 1,2022, while acting under the color of law, defendants OCSD deputies and DOES
 2       1-50, used force and intimidation against Plaintiff and his property to prevent him from
 3       exercising his right to freedom of speech to retaliate against Plaintiff for having exercised his
 4       rights. All acts were done under the orders of the OCSD, Does 1-50.
 5    89. On April 1, 2022, defendants OCSD, and DOES 1-50 intended to deprive Plaintiff of his
 6       enjoyment of the interests protected by the right. All acts were done under the orders of the
 7       OCSD, DOES 1-50.
 8    90. On April 1, 2022, defendants OCSD deputies and DOES 1-50 prevented Plaintiff doing
 9       something they had the right to do under the law or to force the plaintiff to do something that
10       he or she was not required to do under the law. (King v. State of California (2015) 242
11       Cal.App.4th 265,294 [195Cal.Rptr.3d 286j, internal citation omitted.)
12    91. Plaintiff is informed and believes and thereon alleges that, at all times herein mentioned,
13       defendants OCSD deputies, Sheriff Don Barnes, and DOE 51 employed OCSD deputies and
14       DOES 1-50 as well as maintained, enforced, tolerated, ratified, permitted, acquiesced in,
15       and/or applied, among others, policies, practices and customs with deliberate indifference,
16       and in conscious and reckless disregard to the safety, security and constitutional and
17       statutory rights of Plaintiff.
18    92. The COUNTY, OCSD, and DOE 51 are vicariously liable pursuant to California
19       Government Code§ 815.2(a).
20
      93. As a direct and proximate result of the aforesaid acts and omissions of the aforementioned
21
         defendants, Plaintiff was injured in his person. Plaintiff suffered and will continue to suffer
22
         severe mental and physical pain, suffering, anguish, fright, nervousness, anxiety; shock,
23
         humiliation, indignity, embarrassment, harm to reputation, and apprehension, which have
24
         caused Plaintiff to sustain damages in a sum to be determined at trial.
25
      94. The aforementioned acts of Defendants, and DOES 1-50 were willful, wanton, malicious and
26
         oppressive, with reckless disregard for, with deliberate indifference to, and with the intent to
27

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                                                      13
                       VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1       sadistically subject Plaintiff to pain and suffering - entitling Plaintiff to exemplary and
 2       punitive damages against Defendants in an amount to be proven at trial.
 3    95. "Civil Code section 52.1, the Bane Act civil counterpart of [Penal Code] section 422.6,
 4       recognizes a private right of action for damages and injunctive relief for interference with
 5       civil rights." (In re MS. (1995) 10 Cal.4th 27 698, 715 [42Cal.Rptr.2d 355, 896 P.2d 1365].)
 6       Plaintiff intends to seek injunctive relief against the defendants to prevent OCSD personnel
 7       from depriving persons of their constitutionally protected civil rights.
 8                                  SIXTH CAUSE OF ACTION:
                         INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS;
 9
                                   (Asserted Against All Defendants)
10
      96. Plaintiff hereby realleges and incorporates by reference the allegations set forth in
11
         paragraphs 1 through 95, inclusive, above, as if set forth in full herein.
12
      97. As outlined in detail above, Defendants intentionally inflicted emotional distress on Plaintiff
13
         by engaging in extreme and outrageous behavior that intended to cause Plaintiff emotional
14
         distress and/or Defendants acted with reckless disregard of the possibility that Plaintiff
15
         would suffer emotional distress. Specifically, Defendants engaged in extreme and
16
         outrageous behavior when Defendants dragged Plaintiff to the ground in front of his house,
17
         physically detained him for no reason other than Plaintiff stepping outside onto his porch.
18
         Defendants as further attempts to torcher Plaintiff tazed Plaintiffs dog who was no threat to
19
         Defendants. As a result, Plaintiff did in fact suffer emotional distress, and continue to suffer
20
         emotional distress as a result of Defendants’ conduct.
21
      98. As a further direct and proximate result of the foregoing, Plaintiff further suffers from
22
         depression, nightmare, mental anguish, irritability, anxiety, short-temper, moodiness,
23
         difficulty sleeping, memory loss, social withdrawal, tearfulness, and anger.
24
      99. On information and belief, the wrongful acts and conduct of Defendant, as set forth above,
25
         was conducted or occurred deliberately, intentionally, knowingly, maliciously, willfully,
26
         wantonly, and with conscious and reckless disregard for the rights and safety of Plaintiff,
27

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                                                       14
                       VERIFIED COMPLAINT FOR DAMAGES & EQUITABLE RELIEF
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 1       entitling Plaintiff to an award of exemplary damages as provided by Section 337.34 of the
 2       California Code of Civil Procedure.
 3    100.   The COUNTY is vicariously liable for the wrongful acts of Defendant pursuant to
 4       section 815.2 of the California Government Code, which provides that a public entity is
 5       liable for the injuries caused by its employees within the scope of the employment if the
 6       employee’s act would subject him or her to liability.
 7                              SEVENTH CAUSE OF ACTION:
                 NEGLIGENCE / NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
 8
                                 (Asserted Against All Defendants)
 9
      101.   Plaintiff, hereby realleges and incorporates by reference the allegations set forth in
10
         paragraphs 1 through 100, inclusive, above, as if set forth in full herein.
11
      102.   Plaintiff claims Defendants OCSD and DOES 1-50 owed Plaintiff a duty of due care to
12
         conduct themselves reasonably, professionally, and within constitutional limitations. All acts
13
         were done under the orders of the OCSD, DOES 1-50.
14
      103.   Plaintiff claims Defendant OCSD and DOES 1-50 conduct was outrageous, and
15
         unreasonable and that all acts were done under the orders of the OCSD, DOES 1-50.
16
      104.   Defendant OCSD and DOES 1-50 negligently caused Plaintiff emotional distress by
17
         using excessive force on Plaintiffs' person, wrongfully arresting, searching & seizing
18
         Plaintiff in front of his neighbors and friends in his neighborhood.
19
      105.   Defendants OCSD and DOES 1-50 acted negligently, and/or with reckless disregard of
20
         the probability that Plaintiff would suffer emotional distress.
21
      106.   Plaintiff suffered severe emotional distress. Defendants OCSD and DOES 1-50 conduct
22
         was a substantial factor in causing Plaintiffs' severe emotional distress.
23
      107.   Defendants OCSD and DOES 1-50 knew that Plaintiff was particularly vulnerable to
24
         emotional distress being that Plaintiff were assaulted, threatened and arrested in front of
25
         neighbors and friends while simply exercising his Rights as to the United States
26
         Constitution.
27

28


                                                      15
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 1    108.    Defendants OCSD and DOES 1-50 knew that their conduct would likely result in
 2         emotional distress.
 3    109.    COUNTY, OCSD, and DOE 51 are vicariously liable pursuant to California Government
 4         19 Code§ 815.2(a).
 5    110.    As a direct and proximate result of the aforesaid acts and omissions of the
 6         aforementioned defendants, Plaintiff suffered and will continue to suffer severe mental and
 7         physical pain, suffering, anguish, fright, nervousness, anxiety, shock, humiliation, indignity,
 8         embarrassment, harm to reputation, and apprehension, which have caused Plaintiffs to
 9         sustain damages in a sum to be determined at trial.
10                                         PRAYER FOR RELIEF
11    WHEREFORE, Plaintiffs pray for judgment against the Defendants and each of them as
12    follows:
13    1. For all compensatory damages incurred according to proof;
14    2. For all consequential damages incurred according to proof;
15    3. For all special damages according to proof;
16    4. For all statutory damages applicable to each cause of action;
17    5. For punitive damages sufficient to punish the Defendants and act as a deterrent to others;
18    6.   For attorney’s fees and costs of suit;
19    7. For such other relief that the court may deem just and proper.
20
      Dated: December 8, 2022                        RODRIGUEZ LAW GROUP, INC.
21

22
                                                     ______________________________________
23
                                                     By: Patricia Rodriguez, Esq.
24                                                      Attorney for Plaintiff

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